                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )       No. 3:06-CR-64
V.                                                   )       (JARVIS/SHIRLEY)
                                                     )
                                                     )
LUELLA COBB,                                         )
                                                     )
                       Defendant.                    )

                                 MEMORANDUM AND ORDER

               This matter came before the undersigned on June 22, 2006 for a scheduled detention

hearing. Assistant United States Attorney Tracee Plowell was present representing the government.

Attorney Jonathan Moffatt was present representing Defendant Cobb, who was also present.

               In the Court’s oral ruling, a complete review and analysis of the parties’ positions,

issues, and facts were stated. That specific and detailed oral ruling is attached hereto and made a

part of this order as if stated herein verbatim.

               For the reasons stated therein, I find, pursuant to 18 U.S.C. § 3142, that the

government has met the burden of establishing by a preponderance of the evidence that Defendant

is a flight risk and a risk not to appear as required if released. Furthermore, the Court finds that

there are no conditions or combination of conditions of release that would reasonably assure the

Court that the defendant would appear as ordered if released.

               It is therefore ORDERED that the defendant, Luella Cobb, be detained. The

defendant will be committed to the custody of the Attorney General or his designated representative

for confinement in a correction facility separate to the extent practicable from persons awaiting

sentencing or serving sentences or being held in custody pending appeal. The defendant shall be




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afforded a reasonable opportunity for private consultation with defense counsel. Upon order of this

Court or a Court of the United States or upon request of the attorney for the government, the person

in charge of the corrections facility shall deliver the defendant to the United States Marshals for the

purpose of an appearance in connection with a Court proceeding.

               IT IS SO ORDERED.

                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




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